Case 2:16-cv-05051-GW-AFM Document 171 Filed 04/20/17 Page 1 of 4 Page ID #:3133




  1   Jay M. Spillane (Bar No. 126364)
      jspillane@spillaneplc.com
  2   SPILLANE TRIAL GROUP PLC
  3   468 N. Camden Drive
      Second Floor
  4   Beverly Hills, CA 90210
      (424) 217-5980
  5   (888) 590-1683 (fax)
  6   Attorneys for Plaintiff ALS Scan, Inc.
  7
  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
10    ALS SCAN, INC., a Maryland                       Case No.: 2:16-cv-05051-GW-AFM
11    corporation,                                     SUPPLEMENTAL DECLARATION
                                                       OF JAY M. SPILLANE IN
12                                                     OPPOSITION TO MOTION BY
                  Plaintiff,
                                                       DEFENDANT CLOUDFLARE, INC.
13                                                     FOR PARTIAL SUMMARY
14       vs.                                           JUDGMENT

15    CLOUDFLARE, INC., a Delaware                     Filed Concurrently: Supplemental
      corporation, et al.,                             Memorandum; Supplemental Penn
16
                                                       Declaration; Supplemental Statement of
17                 Defendants.                         Genuine Disputes; Demand for Lodging
18
                                                       Date: May 4, 2017
19                                                     Time: 8:30 a.m.
20                                                     Place: Courtroom 9D
                                                              350 W. 1st Street
21                                                            Los Angeles, CA
22
23
24
25
26
27
28


                      Opposition to Cloudflare Partial MSJ – Suppl. Spillane Decl.
Case 2:16-cv-05051-GW-AFM Document 171 Filed 04/20/17 Page 2 of 4 Page ID #:3134




  1         I, Jay M. Spillane, declare:
  2         1.     I am a member of the Bar of the State of California. I am counsel
  3   for Plaintiff ALS Scan, Inc. The following facts are stated on my personal
  4   knowledge.
  5         2.     At Eric Penn’s suggestion, I installed the “HTTP Headers”
  6   application from the Google Chrome Store onto my Chrome browser.
  7         3.     Mr. Penn sent me the URLs of the eleven infringing ALS images
  8   on the eleven sites discussed in his declaration. I input those eleven URLs into
  9   my Chrome browser and initiated the query. My browser accessed the images
10    and I used the HTTP Header application to reveal the response header
11    information. I conducted these operations from my computer in Los Angeles.
12          4.     Attached hereto as Exhibits 1-11 are true and screen captures of
13    the ALS image in question with the response header information revealed in the
14    upper right hand corner. I did not alter the response header information. As the
15    response header information is very small and hard to read if the page is
16    rendered onto an 8.5x11 piece of paper, for convenience each exhibit has a
17    second page in which I cropped only the header information. The CF-RAY
18    header information reflects that my queries retrieved images on Cloudflare
19    servers located in the United States. Those exhibits and the region of the
20    Cloudflare data center from which the image was displayed are: imgchili.net
21    (LAX – Los Angeles, CA) (Ex. 1); slimpics.com (DFW – Dallas-Fort Worth,
22    TX) (Ex. 2); bestofsexpics.com (DFW) (Ex. 3); greenpiccs.com (DFW) (Ex. 4);
23    imgsen.se (DFW) (Ex. 5); imgspice.com (DFW) (Ex. 6); imgspot.org (DFW)
24    (Ex. 7); img.yt (LAX) (Ex. 8); vipergirls.to (LAX) (Ex. 9); and imgtrex.com
25    (LAX) (Ex. 10). I was not able to access the page that Eric Penn has in his
26    declaration pertaining to fboom.me.
27          5.     Occasionally when making a query for one of the above images the
28    response header information was “EXPIRED” in the Cf-Cache-Status header.

                                                 -1-
                      Opposition to Cloudflare Partial MSJ – Suppl. Spillane Decl.
Case 2:16-cv-05051-GW-AFM Document 171 Filed 04/20/17 Page 3 of 4 Page ID #:3135




  1   Each time that happened, if I refreshed the query one time, the response header
  2   from the second query showed “HIT” in the Cf-Cache-Status header. Taking
  3   this experience in relation to the testimony of Trey Guinn concerning how the
  4   “popularity” of a file draws a copy of that file to be stored on a Cloudflare
  5   caching server, two requests for the same file made in a short period of time
  6   satisfy the “popularity” criterion.
  7         6.     Attached hereto as Exhibit 11 are true and correct copies of pages
  8   from the Trey Guinn Deposition cited herein, including any exhibits referenced
  9   and the cover, errata and signature pages.
10
11          This declaration was executed on April 20, 2017 at Beverly Hills,
12    California. I declare under penalty of perjury under the laws of the United
13    States and the State of California that the foregoing is true and correct.
14
15
16
17
                                                  ________________________________
18                                                          Jay M. Spillane
19
20
21
22
23
24
25
26
27
28

                                                  -2-
                       Opposition to Cloudflare Partial MSJ – Suppl. Spillane Decl.
    Case 2:16-cv-05051-GW-AFM Document 171 Filed 04/20/17 Page 4 of 4 Page ID #:3136




                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
SUPPLEMENTAL DECLARATION OF JAY M. SPILLANE IN OPPOSITION TO
MOTION BY DEFENDANT CLOUDFLARE, INC. FOR PARTIAL SUMMARY
JUDGMENT will be served or was served (a) on the judge in chambers in the form and manner required by Local
Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 20, 2017, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Paul Supnick – paul@supnick.com
Corey D. Silverstein – corey@silversteinlegal.com               Raymond Katrinak – pkatrinak@kernanlaw.net
Rachel H. Kassabian –                                           Ryan Carreon – rcarreon@kernanlaw.net
rachelkassabian@quinnemanuel.com                                Stephen M Kernan – kernanlaw@gmail.com
Carolyn M. Homer – carolynhomer@quinnemanuel.com
John Lewis Holcomb – jholcomb@khslaw.com
Tammy X. Wu – twu@khslaw.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) April 20, 2017, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                             Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) April 20, 2017, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail
Hon. George H. Wu
U.S. District Court
312 N. Spring Street
Courtroom 10 – Spring St. Floor
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/20/2017                   Jessie Gietl

 Date                     Printed Name                                         Signature
